                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ11
    et al.,1
                                                                 Joint Administration Requested
                                Debtors.


              MOTION FOR ADMISSION PRO HAC VICE FOR JENNIFER TAYLOR

             COMES NOW, Derek F. Meek, counsel for Remington Outdoor Company, Inc. and its

affiliated debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned

chapter 11 cases, and moves this Court (this “Motion”) to permit Jennifer Taylor of O’Melveny &

Myers LLP to appear and participate in these cases on a pro hac vice basis to represent the Debtors.

In support of this Motion, the undersigned states as follows:

             1.    I am a member in good standing of the bar of this Court, and I am counsel of record

for the Debtors.

             2.    Ms. Taylor declares and certifies that she is a member in good standing of the bar

of California, and is admitted to practice before United States District Courts for the Central,

Eastern, and Northern Districts of California and United States Court of Appeals for the Second

Circuit. A Certificate of Good Standing from the Supreme Court of California is attached hereto

as Exhibit A.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
AL 35824.

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          3.     Ms. Taylor certifies that no disciplinary actions are pending against her and no

disciplinary action has been taken against her in the past.

          WHEREFORE, the undersigned respectfully request that this Court grant this Motion and

admit attorney Jennifer Taylor to practice before this Court on a pro hac vice basis in this case.

          Dated this the 30th day of July 2020.

                                                      /s/ Derek F. Meek
                                                      BURR & FORMAN LLP
                                                      Derek F. Meek
                                                      Hanna Lahr
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                                                      Birmingham, AL 35203
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                                                      - and -

                                                      O’MELVENY & MYERS LLP
                                                      Stephen H. Warren (admitted pro hac vice)
                                                      Karen Rinehart (admitted pro hac vice)
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                                                      Los Angeles, CA 90071-2899
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                                                      Jennifer Taylor (pro hac vice admission
                                                      pending)
                                                      Two Embarcadero Center
                                                      28th Floor
                                                      San Francisco, CA 94111-3823
                                                      Telephone:     (415) 984-8700
                                                      Email: jtaylor@omm.com

                                                      Proposed Attorneys for the Debtors and
                                                      Debtors in Possession




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of July, 2020, the foregoing document was filed with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
parties requesting electronic service.


                                                     /s/ Derek F. Meek
                                                     OF COUNSEL




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                          EXHIBIT A




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